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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR20-092 ICC-11
Plaintiff, ORDER ISSUING BENCH WARRANT
v. SUPERSEDING INDICTMENT
ALYSHA JONES,
Defendant.

 

 

A Superseding Indictment having been returned against the above-named defendant,

now therefore
IT IS ORDERED that a Bench Warrant shall be issued and conditions of

release or detention shall be addressed at the initial appearance in this case.

DATED this 3oetderoPivtereh 2024.
SH -
3 dorw MN Ayr , 2021

Ww noe

UNITED STATES MAGISTRATE JUDGE

 

 

SECRET: YES NO xX
ORDER ISSUING BENCH WARRANT - I UNITED STATES ATTORNEY
SUPERSEDING INDICTMENT 700 Stewart Street, Suite 5220

Seattle, Washington 98101
(206) 553-7970

 
